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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       §
                                               §
V.                                             §            NO.: 1:22-CR-378
                                               §
PAUL RAE                                       §
                                               §


               MOTION TO AMEND PRETRIAL RELEASE CONDITIONS

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES the Defendant, PAUL RAE, and submits this Motion to Amend Pretrial

Release Conditions and would show the following:



                                                I.

       Defendant originally appeared before the Honorable Zia M. Faruqui, United States

Magistrate Judge, United States District Court, District of Columbia. As a condition of Pretrial

Release, it was ordered that PAUL RAE must wear an ankle monitor and must obtain

preapproval for any travel outside of the Middle District of Florida. Defendant was released on

March 31, 2021. None of the other Defendants on the same indictment as Mr. Rae have an ankle

monitor or a curfew as part of their Pre-Trial release conditions. The Defendant has now been

wearing the ankle monitor for twenty-two months. The Defendant was one of the first people

charged with events relating to January 6th, and since that time, courts have not been imposing

the condition of an ankle monitor of defendants not charged with a crime of violence. The

Defendant has not had any violations of Pre-Trial Release Conditions since October 28, 2021.

Therefore, Defendant requests the Court remove the ankle monitor and curfew as Pre-Trial

conditions. The Defendant’s Pre-Trial Services Officer, Amy Jackson, said that she will defer to

the court regarding this motion.
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The Defendant does not have a criminal history, has made every court appearance in connection

to this case and does not present a danger to the community. The Defendant presents zero

likelihood of fleeing from the charges against him and has tendered his passport to his Pretrial

Services Officer.

        The statute governing pretrial release explicitly states that a judicial officer who

determines conditions are necessary to assure appearance in court or the safety of the community

for a particular defendant, “shall order the pretrial release of the person . . . subject to the least

restrictive further condition, or combination of conditions . . . .” 18 U.S.C. § 3142(c)(1)(B)

(emphasis added).

        As such, Defendant’s Attorney requests a limited modification to his pre-trial release

conditions to remove the ankle monitor and curfew as Pre-Trial conditions.



                                                   II.

        PAUL RAE requests that the Court grant the requested modification to his pre-trial

release conditions as requested above. Assistant United States District Attorney Naida Moore

and Jason McCullough were contacted regarding the Government’s position on the Motion, but

Defendant’s Attorney had not received a response at the time of filing.

                                                   III.

                WHEREFORE, PREMISES CONSIDERED, PAUL RAE prays that this motion

will be granted.
                                                                 Respectfully Submitted,


                                                                 /s/ James Lee Bright_____________
                                                                 JAMES LEE BRIGHT
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                             CERTIFICATE OF CONFERENCE

               On February 1, 2023, James Lee Bright, counsel for Defendant PAUL RAE

attempted to confer with Assistant United States Attorneys Nadia Moore and Jason

McCullough but had not received a reply at the time of filing.


                                                         /s/ James Lee Bright_____________
                                                         JAMES LEE BRIGHT
                                                         ATTORNEY FOR DEFENDANT



                                CERTIFICATE OF SERVICE

               I, the undersigned, hereby certify that a true and correct copy of the foregoing

document United States Attorney’s Office, on this the 1st day of February, 2023, via electronic

filing.


                                                         /s/ James Lee Bright_____________
                                                         JAMES LEE BRIGHT
                                                         ATTORNEY FOR DEFENDANT
